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    Wendy Curtis Palen
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    P.O. Box 156
    Glendo, WY 82213
    307-735-4022
                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
    UNITED STATES OF AMERICA, )
                                     )
           Plaintiff-Appellee,       )
                                     )    10TH Cir No: 20-1268
           v.                        )
                                     )    D.C. No. 17-cr-00168-CMA
    KAREN LYNN MCCLAFLIN,            )
                                     )
           Defendant-Appellant,      )
                        DESIGNATION OF RECORD ON APPEAL
            Those original papers which have been designated by circling their
    respective docket numbers on the attached copy of the district court’s docket sheets
    should be included in the record on appeal prepared by the clerk of the district court
    and transmitted to the clerk of the court of appeals. (If the district court clerk so
    elects, original papers may be retained in the district court and copies thereof may
    be included in the record on appeal.)
            The following items should also be included in the record on appeal: NONE

    DATED this 17th day of August, 2020.

                                                Respectfully submitted,

                                                /s/ WENDY CURTIS PALEN
                                                WENDY CURTIS PALEN
                                                Palen Law Offices, LLP
                                                PO Box 156
                                                Glendo, WY 82213
                                                307 735-4022
                                                CJA Attorney for Defendant

                              CERTIFICATE OF SERVICE
           The undersigned hereby certified that on a true and correct copy of the foregoing
    was served via CM/ECF electronic service upon counsel of record on the 17th day of
    August, 2020.

                                         /s/Wendy Curtis Palen_____
                                          Wendy Curtis Palen
